                                    Case 1:20-cv-00840-BKS-CFH Document 61-13 Filed 09/04/20 Page 1 of 2


                                                                                           Infant Immunizations FAQs
                    It’s natural you have questions about your child’s vaccines. Read
                    answers to common questions to learn more about vaccine safety,
                    the recommended schedule, how vaccines protect your child
                    from 14 diseases by age two, and more. CDC regularly updates this
                    document to ensure frequently asked questions from parents are
                    answered with the most current information.

                    Q: Are vaccines safe?
                    A: Yes. Vaccines are very safe. The United States’ long-standing
                    vaccine safety system ensures that vaccines are as safe as possible.
                    Currently, the United States has the safest vaccine supply in its history.
                    Millions of children safely receive vaccines each year. The most
                    common side effects are typically very mild, such as pain or swelling at
                    the injection site.

                    Q: What are the side effects of the vaccines? How do I
                    treat them?
                    A: Vaccines, like any medication, may cause some side effects. Most of
                    these side effects are very minor, like soreness where the shot was          CDC recommends all children receive vaccines according to the recommended
                    given, fussiness, or a low-grade fever. These side effects typically only    immunization schedule to protect them from 14 diseases by age two. Read below
                    last a couple of days and are treatable. For example, you can apply a        to get answers to 19 common questions about how vaccines benefit your child, the
                    cool, wet washcloth on the sore area to ease discomfort.                     vaccine schedule, and more.
                    Serious reactions are very rare. However, if your child experiences any
                    reactions that concern you, call the doctor’s office.

                    Q: What are the risks and benefits of vaccines?                              Q: Why are so many doses needed for each vaccine?
                    A: Vaccines can prevent infectious diseases that once killed or harmed       A: Getting every recommended dose of each vaccine provides your
                    many infants, children, and adults. Without vaccines, your child is at       child with the best protection possible. Depending on the vaccine,
                    risk for getting seriously ill and suffering pain, disability, and even      your child will need more than one dose to build high enough immunity
                    death from diseases like measles and whooping cough. The main                to prevent disease or to boost immunity that fades over time. Your child
                    risks associated with getting vaccines are side effects, which are           may also receive more than one dose to make sure they are protected if
                    almost always mild (redness and swelling at the injection site) and go       they did not get immunity from a first dose, or to protect them against
                    away within a few days. Serious side effects after vaccination, such         germs that change over time, like flu. Every dose is important because
                    as a severe allergic reaction, are very rare and doctors and clinic staff    each protects against infectious diseases that can be especially serious for
                    are trained to deal with them. The disease-prevention benefits of            infants and very young children.
                    getting vaccines are much greater than the possible side effects for
                    almost all children. The only exceptions to this are cases in which a        Q: Why do vaccines start so early?
                    child has a serious chronic medical condition like cancer or a disease       A: The recommended schedule protects infants and children by
                    that weakens the immune system, or has had a severe allergic reaction        providing immunity early in life, before they come into contact with
                    to a previous vaccine dose.                                                  life-threatening diseases. Children receive immunization early because
                                                                                                 they are susceptible to diseases at a young age. The consequences of
                    Q: Is there a link between vaccines and autism?                              these diseases can be very serious, even life-threatening, for infants and
                    A: No. Scientific studies and reviews continue to show no                    young children.
                    relationship between vaccines and autism.
                    Some people have suggested that thimerosal (a compound that                  Q: What do you think of delaying some vaccines or
                    contains mercury) in vaccines given to infants and young children            following a non-standard schedule?
                    might be a cause of autism. Others have suggested that the MMR               A: Children do not receive any known benefits from following
                    (measles- mumps-rubella) vaccine may be linked to autism. However,           schedules that delay vaccines. Infants and young children who follow
                    numerous scientists and researchers have studied and continue to             immunization schedules that spread out or leave out shots are at risk of
                    study the MMR vaccine and thimerosal, and they reach the same                developing diseases during the time you delay their shots. Some vaccine-
                    conclusion: there is no link between MMR vaccine or thimerosal and           preventable diseases remain common in the United States and children
                    autism.                                                                      may be exposed to these diseases during the time they are not protected
                                                                                                 by vaccines, placing them at risk for a serious case of the disease that
                    Q: Can vaccines overload my baby’s immune system?                            might cause hospitalization or death.
                    A: Vaccines do not overload the immune system. Every day, a healthy
                    baby’s immune system successfully fights off thousands of germs.
                    Antigens are parts of germs that cause the body’s immune system to
                    go to work to build antibodies, which fight off diseases.
                    The antigens in vaccines come from the germs themselves, but the
                    germs are weakened or killed so they cannot cause serious illness. Even
                    if babies receive several vaccinations in one day, vaccines contain
                    only a tiny fraction of the antigens they encounter every day in
                    their environment. Vaccines give your child the antibodies they need
                    to fight off serious vaccine-preventable diseases.
CS HCVG15-CHD-152
                Case 1:20-cv-00840-BKS-CFH Document 61-13 Filed 09/04/20 Page 2 of 2



                                    Infant Immunizations FAQs
Q: Haven’t we gotten rid of most of these diseases in this                    mom is immune. Breastfeeding may also protect your baby temporarily
country?                                                                      from minor infections, like colds. These antibodies do not last long,
                                                                              leaving your baby vulnerable to disease.
A: Some vaccine-preventable diseases, like pertussis (whooping cough)
and chickenpox, remain common in the United States. On the other              Natural immunity occurs when your child is exposed to a disease and
hand, other diseases vaccines prevent are no longer common in this            becomes infected. It is true that natural immunity usually results in
country because of vaccines. However, if we stopped vaccinating, the          better immunity than vaccination, but the risks are much greater. A
few cases we have in the United States could very quickly become              natural chickenpox infection may result in pneumonia, whereas the
tens or hundreds of thousands of cases. Even though many serious              vaccine might only cause a sore arm for a couple of days.
vaccine-preventable diseases are uncommon in the United States, some
are common in other parts of the world. Even if your family does not          Q: Can’t I just wait to vaccinate my baby, since he isn’t in
travel internationally, you could come into contact with international        child care, where he could be exposed to diseases?
travelers anywhere in your community. Children who don’t receive all
vaccinations and are exposed to a disease can become seriously sick and       A: No, even young children who are cared for at home can be
spread it through a community.                                                exposed to vaccine preventable diseases, so it’s important for them
                                                                              to get all their vaccines at the recommended ages. Children can
                                                                              catch these illnesses from any number of people or places, including
Q: What are combination vaccines? Why are they used?                          from parents, brothers or sisters, visitors to their home, on playgrounds
A: Combination vaccines protect your child against more than one              or even at the grocery store. Regardless of whether or not your baby
disease with a single shot. They reduce the number of shots and office        is cared for outside the home, she comes in contact with people
visits your child would need, which not only saves you time and money,        throughout the day, some of whom may be sick but not know it yet.
but also is easier on your child.
                                                                              If someone has a vaccine preventable disease, they may not have
Some common combination vaccines are Pediarix®, which combines                symptoms or the symptoms may be mild, and they can end up
DTap, Hep B, and IPV (polio), and ProQuad®, which combines MMR and            spreading disease to babies or young children. Remember, many of
varicella (chickenpox).                                                       these diseases can be especially dangerous to young children so it is
                                                                              safest to vaccinate your child at the recommended ages to protect her,
Q: Can’t I just wait until my child goes to school to catch                   whether or not she is in child care.
up on immunizations?
A: Before entering school, young children can be exposed to vaccine-          Q: Do I have to vaccinate my baby on schedule if I’m
preventable diseases from parents and other adults, brothers and sisters,     breastfeeding him?
on a plane, at child care, or even at the grocery store. Children under age   A: Yes, even breastfed babies need to be protected with vaccines at
5 are especially susceptible to diseases because their immune systems         the recommended ages. The immune system is not fully developed at
have not built up the necessary defenses to fight infection. Don’t wait       birth, which puts newborns at greater risk for infections.
to protect your baby and risk getting these diseases when he or she
                                                                              Breast milk provides important protection from some infections as your
needs protection now.
                                                                              baby’s immune system is developing. For example, babies who are
                                                                              breastfed have a lower risk of ear infections, respiratory tract infections,
Q: Why does my child need a chickenpox shot? Isn’t it a                       and diarrhea. However, breast milk does not protect children against all
mild disease?                                                                 diseases. Even in breastfed infants, vaccines are the most effective way
A: Your child needs a chickenpox vaccine because chickenpox can               to prevent many diseases. Your baby needs the long-term protection
actually be a serious disease. In many cases, children experience a mild      that can only come from making sure he receives all his vaccines
case of chickenpox, but other children may have blisters that become          according to the CDC’s recommended schedule.
infected. Others may develop pneumonia. There is no way to tell in
advance how severe your child’s symptoms will be.                             Q: What’s wrong with delaying some of my baby’s
Before vaccine was available, about 50 children died every year from          vaccines if I’m planning to get them all eventually?
chickenpox, and about 1 in 500 children who got chickenpox was                A: Young children have the highest risk of having a serious case
hospitalized.                                                                 of disease that could cause hospitalization or death. Delaying or
                                                                              spreading out vaccine doses leaves your child unprotected during
Q: My child is sick right now. Is it okay for her to still get                the time when they need vaccine protection the most. For example,
shots?                                                                        diseases such as Hib or pneumococcus almost always occur in the first 2
                                                                              years of a baby’s life. And some diseases, like Hepatitis B and whooping
A: Talk with your child’s doctor, but children can usually get                cough (pertussis), are more serious when babies get them at a younger
vaccinated even if they have a mild illness like a cold, earache, mild        age. Vaccinating your child according to the CDC’s recommended
fever, or diarrhea. If the doctor says it is okay, your child can still get   immunization schedule means you can help protect him at a young age.
vaccinated..
                                                                              Q. I got the whooping cough and flu vaccines during my
Q: What are the ingredients in vaccines and what do
                                                                              pregnancy. Why does my baby need these vaccines too?
they do?
                                                                              A: The protection (antibodies) you passed to your baby before birth
A: Vaccines contain ingredients that cause the body to develop                will give him some early protection against whooping cough and flu.
immunity. Vaccines also contain very small amounts of other ingredients.      However, these antibodies will only give him short-term protection.
All ingredients play necessary roles either in making the vaccine, or         It is very important for your baby to get vaccines on time so he can start
in ensuring that the final product is safe and effective.                     building his own protection against these serious diseases.
Q: Don’t infants have natural immunity? Isn’t natural
immunity better than the kind from vaccines?
A: Babies may get some temporary immunity (protection) from mom
during the last few weeks of pregnancy, but only for diseases to which




                              800-CDC-INFO (800-232-4636) • www.cdc.gov/vaccines
                                                                                                                                                  Page 2 of 2
